
In re: Sylvester Kirkland applying for writs of certiorari, prohibition or mandamus.
Writ granted, (See order).
The petition of the relator in the above entitled and numbered case having been duly considered,
It is ordered that a writ of certiorari issue herein, directing the Honorable Guy E. Humphries, Jr., Judge of the Ninth Judicial District Court for the Parish of Rapides, to transmit to the Supreme Court of Louisiana, on or before the 27th day of August, 1973, the record in duplicate, or a certified copy of the record in duplicate, of the proceedings complained of by the relator herein, to the end that the validity of said proceedings may be ascertained.
It is further ordered that the aforesaid Judge of said Court and the respondent through counsel shall show cause, in this court, on the date aforesaid, at 11 o’clock A.M., why the relief prayed for in the petition of the relator should not be granted.
